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                                                THE HONORABLE JOHN C. COUGHENOUR
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 6
                             UNITED STATES DISTRICT COURT
 7
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE

 9   UNITED STATES OF AMERICA,                              CASE NO. CR21-0045-JCC
10                             Plaintiff,                   ORDER
11          v.

12   SUMIT GARG,

13                             Defendant.
14

15          This matter comes before the Court on Defendant’s unopposed motion in limine.
16   (Dkt. No. 802.) Having thoroughly considered the parties’ briefing and the relevant
17   record, the Court hereby GRANTS Defendant’s motion for the reasons explained herein.
18          Defendant seeks to introduce evidence of the burglary of the office of Noah Weil
19   and the attempted burglary of the office of Lauren Wegener, two attorneys who formerly
20   represented him. 1 (Dkt. No. 802.) He argues the evidence is central to his theory of the
21   case, namely that he is being framed. (Id.) Defendant’s reasoning proceeds in three-parts:
22   (1) that he could not have committed the burglaries because he was under home
23   confinement and electronic monitoring at the time; (2) that he had no motive to harass and
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      Mr. Weil and Ms. Wegener represented Defendant and his ex-wife Lindsay Hefton
25   during civil litigation in King County Superior Court. (See Dkt. No. 21.) In addition to
     being the targets of burglaries, both attorneys received harassing and threatening emails
26   during the course of their representation. (Id.)

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 1   burglarize his lawyers while simultaneously availing himself of their services; and (3) that

 2   an inference of third-party culpability logically follows from those facts. (Id.) In other

 3   words, Defendant asserts that his ostensible innocence of the burglaries coupled with his

 4   lack of motive is a basis to impute third-party culpability of the cyberstalking crimes. (Id.)

 5          The Ninth Circuit has held that “[f]undamental standards of relevancy. . . require

 6   the admission of testimony which tends to prove that a person other than the defendant

 7   committed the crime that is charged.” United States v. Crosby, 75 F.3d 1343, 1347 (9th

 8   Cir. 1996). If the evidence that someone else committed the crime “is in truth calculated to
 9   cause the jury to doubt, the court should not attempt to decide for the jury that this doubt is
10   purely speculative and fantastic but should afford the accused every opportunity to create
11   that doubt.” Id. at 1349 (quoting 1A John Henry Wigmore, Evidence in Trials at Common
12   Law § 139 (Tillers rev. ed. 1983)).
13          Ordinarily, evidence of attenuated criminal acts are too remote for admissibility.
14   But here, this evidence has unique relevance to the central defense theory—that Defendant
15   is being framed. Consequently, it is the province of the jury to consider the evidence and
16   determine whether it presents a legitimate alternative theory to the Government’s case.
17          For the foregoing reasons, the Court GRANTS Defendant’s motion (Dkt. No. 802).
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19          DATED this 20th day of February 2024.




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                                                         John C. Coughenour
23                                                       UNITED STATES DISTRICT JUDGE
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